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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                              )         No. 23-B-04510
 Midwest Leasing of Illinois, LLC,                   )         Chapter 7
                                                     )         Judge Janet S. Baer
           Debtor.                                   )
                                                     )



                                       EXHIBIT INDEX

 Exhibit             Description
 A                   June 14, 2023 Transcript of Proceedings
 B                   July 27, 2023 Midwest’s Petition to Vacate Arbitration Award
 C                   August 31, 2023 Presence Opposition to Midwest’s Petition to Vacate
                     Arbitration Award
 D                   September 26, 2023 Will County Circuit Court Order
